   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 1 of 23         PageID 1



                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


GENERAL STAR NATIONAL
INSURANCE COMPANY,

       Plaintiff,

       v.                                     CIVIL ACTION NO.: 1: 12-cv-1094

MONICA CORLEY, WEST TENNESSEE
APPRAISAL SERVICES, STACY ATKINS,
CHRISTOPHER J. BERRY, MICHAEL
CARUTHERS, RAYMOND FRAZIER,
JEREMY HOLLOWAY, NEKEYA
HOLLOWAY, GRAYLAND JACKSON,
DAVID JONES, III, LATOYA JONES,
SHAKIRA SHACKELFORD, JASON
WINSTON, and PARAMOUNT GROUP
INTERNATIONAL, LLC,

       Defendants.


                     COMPLAINT FOR DECLARATORY JUDGMENT


       COMES NOW the Plaintiff, GENERAL STAR NATIONAL INSURANCE COMPANY,

and for its Complaint for Declaratory Judgment against Defendants, MONICA CORLEY, WEST

TENNESSEE APPRAISAL SERVICES, STACY ATKINS, CHRISTOPHER J. BERRY,

MICHAEL CARUTHERS, RAYMOND FRAZIER, JEREMY HOLLOWAY, NEKEYA

HOLLOWAY, GRAYLAND JACKSON, DAVID JONES, III, LATOYA JONES, SHAKIRA

SHACKELFORD, JASON WINSTON, and PARAMOUNT GROUP INTERNATIONAL, LLC,

states as follows:
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 2 of 23                     PageID 2



                                 PARTIES AND JURISDICTION

        1.      At all times relevant hereto, GENERAL STAR NATIONAL INSURANCE

COMPANY (“General Star”) was an Ohio corporation with its principal place of business

located in Stamford, Connecticut.

        2.      At all times relevant hereto, General Star was authorized to do business issuing

insurance policies in the State of Tennessee.

        3.      At all times relevant hereto, MONICA CORLEY (“Corley”), an individual, was a

licensed certified appraiser of residential real estate property doing business as WEST

TENNESSEE APPRAISAL SERVICES (“West Tennessee”). Corley was also a citizen, and

upon information and belief intends to remain a citizen, of Jackson, Tennessee and was subject

to the jurisdiction of this Court.

        4.      At all times relevant hereto, West Tennessee was a residential real estate appraisal

business owned and operated by Corley. At all times relevant, West Tennessee’s principal place

of business was located at 68 Greendale Drive, Jackson, Tennessee 38305 and was subject to the

jurisdiction of this Court. (Corley and West Tennessee are collectively referred to herein as the

“Insureds.”)

        5.      At all times relevant hereto, STACY ATKINS (“Atkins”) was an adult resident of

Davidson County, Tennessee.

        6.      At all times relevant hereto, CHRISTOPHER J. BERRY (“Berry”) was an adult

resident of Davidson County, Tennessee.

        7.      At all times relevant hereto, MICHAEL CARUTHERS (“Caruthers”) was an

adult resident of Rutherford County, Tennessee.

        8.      At all times relevant hereto, RAYMOND FRAZIER (“Frazier”) was an adult




                                                 2
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 3 of 23                   PageID 3



resident of Rutherford County, Tennessee.

       9.      At all times relevant hereto, JEREMY HOLLOWAY and NEKEYA

HOLLOWAY (collectively the “Holloways”) were adult residents of Fulton County, Georgia.

       10.     At all times relevant hereto, GRAYLAND JACKSON (“Jackson”) was an adult

resident of Davidson County, Tennessee.

       11.     At all times relevant hereto, DAVID JONES, III (“D. Jones”) was an adult

resident of Davidson County, Tennessee.

       12.     At all times relevant hereto, LATOYA JONES (“L. Jones”) was an adult resident

of Wayne County, Michigan.

       13.     At all times relevant hereto, SHAKIRA SHACKELFORD (“Shackelford”) was an

adult resident of Wayne County, Michigan.

       14.     At all times relevant hereto, JASON WINSTON (“Winston”) was an adult

resident of Wilson County, Tennessee.

       15.     At all times relevant hereto, PARAMOUNT GROUP INTERNATIONAL, LLC

(“Paramount”) was a Tennessee Limited Liability Company authorized to transact business in

the State of Tennessee with its principal place of business in Nashville, Tennessee. (Atkins,

Berry, Caruthers, Frazier, the Holloways, Jackson, D. Jones, L. Jones, Shackelford, Winston, and

Paramount are collectively referred to herein as “Claimants.”)

       16.     Claimants have alleged that they purchased undeveloped real estate lots in the

development known as “Great Valley Lakes” located in Hardeman County, Tennessee.

Claimants have further alleged that they obtained construction loans to build homes on lots based

upon appraisals provided by the Insureds regarding the value of the property and homes in the

surrounding area, and that the Insureds inspected and reported on construction progress prior to




                                               3
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 4 of 23                        PageID 4



construction loan disbursement.      Claimants are named herein only as potentially interested

parties as a result of a certain claim that they have asserted against the Insureds.

                                 JURISDICTION AND VENUE

       17.     This Court has original jurisdiction over this action under the provisions of 28

U.S.C. § 1332 because this action is between citizens of different states and the amount in

controversy exceeds the sum of $75,000, exclusive of interest and costs.

       18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because a

substantial part of the events or omissions giving rise to this claim occurred in this District.

                                    SUMMARY OF ACTION

       19.     This action arises out of a controversy between the parties regarding two Real

Estate Appraisers Errors & Omissions Insurance Policies (the “Policies”) issued by General Star

to Corley. General Star brings the instant action for declaratory judgment pursuant to Rule 57 of

the Federal Rules of Civil Procedure and 28 U.S.C. § 2201 to rescind the Policies. Alternatively,

General Star seeks a declaration that it owes no duty to defend or indemnify the Insureds under

one of the Policies (subsequently defined as the “08/09 Policy”) as it relates to the lawsuit filed

by Claimants against the Insureds, among others, in the Chancery Court for Hardeman County,

Tennessee, captioned Stacey Atkins, et al. v. Southeastern Properties, Inc., et al.¸ case no. 16702

(the “Underlying Lawsuit”).

       20.     There exists an actual controversy between the parties that requires a declaration

by this Court of the rights and obligations under the Policies.

       21.     Specifically, General Star seeks a judicial determination that there is no coverage

under the Policies and it has no duty to defend or indemnify the Insureds in connection with the

Underlying Lawsuit as the Policies are void ab initio as a result of material misrepresentations




                                                  4
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 5 of 23                      PageID 5



made by Corley in her application for the Policies upon which General Star relied to its detriment

in issuing the Policies to Corley. Alternatively, General Star seeks a declaration that it owes no

duty to defend or indemnify the Insureds under the 08/09 Policy as there is no coverage for the

Underlying Lawsuit pursuant to the terms of certain exclusions in the 08/09 Policy and/or there

is no duty to indemnify the Insureds for certain types of damages sought by the Claimants as

they do not fall within the definition of “Damages” under the 08/09 Policy.

                                  FACTUAL BACKGROUND

       Licensure and Past Disciplinary History

       22.     In or about December 2002, Corley became licensed as a certified residential real

estate appraiser when she was issued certificate number CR-3117 by the Tennessee Real Estate

Appraiser Commission (the “Commission”).

       23.     The Commission is a state licensing, administrative, or regulatory board that

regulates and disciplines real estate appraisers in the state of Tennessee.

       24.     The purpose of the Commission, according to its website, is “To regulate real

estate appraisers in accordance with federal and state laws, rules, and policies.”               See

http://www.tn.gov/commerce/boards/treac/whatwedo.shtml.            The stated mission of the

Commission is as follows: “The Real Estate Appraiser Commission strives to protect the public

welfare by ensuring that only qualified persons are licensed or certified and that all licensees

uphold the highest appropriate professional standards of practice, independence and

competency.” Id.

       25.     Pursuant to Tenn. Code Ann. §§62-39-308 and 62-39-326, the Commission may

discipline the holder of a certificate as a state certified real estate appraiser upon a finding of a

violation of any of the standards for appraisals and appraisal practice as set forth in this chapter




                                                 5
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 6 of 23                  PageID 6



and the rules and regulations promulgated by the Commission.

       26.     On or around July 13, 2007, a disciplinary complaint was filed against Corley by

or before the Commission, styled In the Matter of Monica Corley, Case No. L07-APP-RBS-

2007068161, as a result of an appraisal report Corley prepared on or about March 5, 2007 of real

property located at 106 Elnora Circle, Bolivar, Tennessee. The Commission investigated Corley

as a result of this disciplinary complaint.

       27.     Corley responded to the disciplinary complaint on or around July 30, 2007.

       28.     Upon information and belief, Corley was aware of the disciplinary complaint on

or before July 30, 2007.

       29.     On December 27, 2007, Corley signed a Consent Order in regard to this

disciplinary complaint, which was approved and entered by the Commission. A true and correct

copy of the December 27, 2007 Consent Order is attached hereto as Exhibit A.

       30.     In this December 27, 2007 Consent Order, the Commission found and Corley

agreed that she had violated the Uniform Standards of Professional Appraisal Practice

(“USPAP”) Ethics Provision by creating a misleading appraisal, which in turn was a violation of

Tenn. Code Ann. §62-39-329. As a result of her appraisal activities in violation of the USPAP

Ethics Provision and the Tennessee statute, the Commission disciplined Corley, and Corley

agreed to pay a civil penalty of $1,000.00 upon execution of the Consent Order.

       31.     A second disciplinary complaint was filed against Corley on or about October 19,

2007, by or before the Commission, styled In the Matter of Monica Corley, Case No. L07-APP-

RBS-2007083881, as a result of an appraisal report Corley prepared on or about September 9,

2006 of real property located at 1210 N. Highland Avenue, Jackson, Tennessee. The

Commission investigated Corley as a result of this disciplinary complaint.




                                               6
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 7 of 23                    PageID 7



       32.     A third disciplinary complaint was filed against Corley in 2008 by or before the

Commission, styled In the Matter of Monica Corley, Case No. L08-APP-RBS-2008000661, as a

result of an appraisal report Corley prepared on or about September 17, 2007 of real property

located at 230 Chester Levee Road, Jackson, Tennessee. The Commission investigated Corley as

a result of this disciplinary complaint.

       33.     On March 12, 2008, Corley signed a Consent Order in regard to these second and

third disciplinary complaints, which was approved and entered by the Commission. A true and

correct copy of the March 12, 2008 Consent Order is attached hereto as Exhibit B.

       34.     In this March 12, 2008 Consent Order, the Commission found and Corley agreed

that she had violated several USPAP rules in preparing her appraisal reports, including the

USPAP Competency Rule and USPAP Standard Rules 1-1(a), 1-2(e), 1-3(a) and (b), 1-4(a) and

(b), 2-1(a) and (b), 2-2(b)(viii), which in turn violated Tenn. Code Ann. §62-39-329. As a result

of her appraisal activities in violation of the USPAP Rules and Tennessee statute, the

Commission disciplined Corley.        Corley agreed to pay a civil penalty of $3,000.00 upon

execution of the Consent Order, she was ordered to complete a 30-hour Report Writing Course

within three months of execution of the Consent Order, and Corley was placed on probation for

six months in which she was ordered to have another appraiser review and sign all of her

appraisal reports.

       The Application for the 07/08 Policy

       35.     On September 22, 2007, Corley completed and signed a Real Estate Appraisers

Errors & Omissions Insurance Application (the “2007 Application”). A true and correct copy of

the 2007 Application is attached hereto as part of Exhibit C.

       36.     The 2007 Application stated: “For you to be eligible for this program, the




                                                7
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 8 of 23                    PageID 8



response to questions 1 – 4 below must all be ‘true’.” Question 4 stated:

               4.     There have been no claims reported and/or pending
                      circumstances which could result in a claim against the
                      applicant within the past 5 years.

       37.     Corley answered “true” to Question 4.

       38.     The 2007 Application further stated:

               Fraud Warning. (Not applicable in Nebraska, Vermont or Virginia): Any
               person who knowingly and with the intent to defraud any insurance
               company or other person files an application for insurance or statement of
               claim containing any materially false information or conceals for the
               purposes of misleading, information concerning any fact material thereto
               commits a fraudulent insurance act, which is a crime and subjects the
               person to criminal and civil penalties.

       39.     The 2007 Application also stated, immediately preceding the signature line:

               IT IS AGREED THAT THIS FORM SHALL BE THE BASIS OF
               THE CONTRACT. SHOULD A POLICY BE ISSUED IT WILL
               ATTACH TO THE POLICY. … I declare that the information
               submitted herein is true to the best of my knowledge and becomes a part
               of my Professional Liability application. I understand that an incorrect or
               incomplete statement could void my protection.

       40.     Corley submitted the completed and signed 2007 Application to General Star or

its representatives for the purpose of obtaining an insurance policy from General Star.

       The 2007/08 Policy

       41.     In reliance upon Corley’s representations in the 2007 Application, including her

response to Question 4, General Star issued a Real Estate Appraisers Errors & Omissions

Insurance Policy to Corley, Policy No. NJA995289B, for the Policy Period of October 21, 2007

to October 21, 2008 (the “07/08 Policy”). The 2007 Application was attached to and formed part

of the 07/08 Policy, a true and correct copy of which is attached hereto as Exhibit C.

       42.     The Declarations Page to the 07/08 Policy identifies that the Named Insured is

Monica Corley.


                                                8
   Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 9 of 23                     PageID 9



       43.     The introduction to the 07/08 Policy states, in pertinent part:

               GENERAL STAR NATIONAL INSURANCE COMPANY, hereinafter
               called the Company, agrees with the Named Insured as shown in the
               Declarations which are made part of this Policy; in consideration of the
               payment of the premium, and in reliance upon the statements on the
               application and the Declarations Page and subject to the limit of liability,
               exclusions, conditions and other terms of this policy, as follows:

       44.     In Section X – General Conditions, the 07/08 Policy states:

               N. Declarations and Application: By acceptance of this policy, all
                  Insureds agree that the statements in the application are the
                  Insureds’ agreements and representations, that they shall be deemed
                  material, that this policy is issued in reliance upon the truth of such
                  representations that this policy embodies all agreements existing
                  between the Insureds and the Company or any of its agents related to
                  this insurance.

       45.     The 07/08 Policy was endorsed to include West Tennessee as an Additional

Insured, “but only as respect claims arising out of any negligent act, error, omission or Personal

Injury in the rendering or failure to render Professional Services by any individual or entity

specified in Section II., PERSONS INSURED, of the policy.”

       The Application for the 08/09 Policy

       46.     On October 21, 2008, Corley completed and signed a Real Estate Appraisers

Errors & Omissions Insurance Application (the “2008 Application”). A true and correct copy of

the 2008 Application is attached hereto as part of Exhibit D.

       47.     In Section 2 of the 2008 Application, it stated: “To be eligible for this program the

responses to questions 1 – 4 must be true.” Questions 3 and 4 stated:

               3.     The applicant has not been disciplined or investigated by
                      any state licensing, administrative or regulatory board as a
                      result of appraisal activities within the past 5 years.

               4.     There have been no claims reported and/or pending
                      circumstances which could result in a claim made against
                      the applicant within the past 5 years.


                                                 9
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 10 of 23                    PageID 10




       48.     Corley answered “true” to Questions 3 and 4.

       49.     The 2008 Application further stated:

               Fraud Warning:
               Notice to Applicants of all states except Colorado, New York, and
               Pennsylvania: Any person who knowingly, and with the intent to
               defraud any insurance company or other person, files an application
               for insurance or statement of claim containing any material false
               information or conceals for the purposes of misleading, information
               concerning any fact material thereto commits a fraudulent insurance
               act, which is a crime and subjects the person to criminal and civil
               penalties and denial of insurance benefits.

       50.     The 2008 Application also stated, immediately preceding Corley’s signature:

               IT IS AGREED THAT THIS FORM SHALL BE THE BASIS OF
               THE CONTRACT SHOULD A POLICY BE ISSUED IT WILL
               ATTACH TO THE POLICY. … I declare that the information
               submitted herein is true to the best of my knowledge and becomes a
               part of my Professional Liability application.

       51.     Corley submitted the completed and signed 2008 Application to General Star or

its representatives for the purpose of obtaining an insurance policy from General Star.

       The 08/09 Policy

       52.     In reliance upon Corley’s representations in the 2008 Application, including her

responses to Questions 3 and 4, General Star issued a Real Estate Appraisers Errors & Omissions

Insurance Policy to Corley, Policy No. NJA995289C, for the Policy Period of October 21, 2008

to October 21, 2009 (the “08/09 Policy”). The 2008 Application was attached to and formed part

of the 08/09 Policy, a true and correct copy of which is attached hereto as Exhibit D.

       53.     The Declarations Page to the 08/09 Policy identifies that the Named Insured is

Monica Corley.

       54.     The introduction to the 08/09 Policy states, in pertinent part:




                                                 10
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 11 of 23                       PageID 11



                 GENERAL STAR NATIONAL INSURANCE COMPANY, hereinafter
                 called the Company, agrees with the Named Insured, in consideration of
                 the payment of the premium, and in reliance upon the statements on the
                 applications and the Declarations Page and subject to the Limits of
                 Liability, exclusions, conditions and other terms of this policy, as follows:

       55.       Subject to the other terms and conditions of the 08/09 Policy, Section I of the

08/09 Policy states that:

                 The Company will pay on behalf of the Named Insured all sums which
                 the Named Insured shall become legally obligated to pay as Damages for
                 Claims first made against the Named Insured during the Policy Period
                 and first reported to the Company in writing during the Policy Period …
                 arising out of any act, error, omission or Personal Injury in the rendering
                 of or failure to render Professional Services by the Named Insured; …”

       56.       The 08/09 Policy defines “Claim” in relevant part as “a demand for money, … the

filing of Suit or the institution of arbitration or mediation proceedings naming the Named

Insured, claiming Damages and alleging an act, error, omission or Personal Injury resulting

from the rendering of or failure to render Professional Services.”

       57.       The 08/09 Policy defines “Claim Expenses,” among other items, as “fees charged

by an attorney(s) designated by the Company and all other fees, costs, and expenses resulting

from the investigation, adjustment, defense and appeal of a Claim, if incurred by the

Company…”

       58.       The 08/09 Policy defines “Damages,” in pertinent part, to mean “compensatory

judgments, settlement or awards, but does not include punitive or exemplary damages, fines or

penalties, sanctions, the return of fees or other consideration paid to the Named Insured, or that

portion of any award or judgment caused by trebling or multiplication of actual damages under

federal or state law.”

       59.       The 08/09 Policy defines “Suit” to mean “a civil adjudicatory proceeding in a

court of law.”



                                                  11
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 12 of 23                        PageID 12



       60.       In Section VI – Exclusions, the 08/09 Policy states, in pertinent part, that:

                 The Company has no obligation under this policy to pay Damages or
                 Claims Expenses, or to provide a defense, in connection with any Claim:

                 A. based on or arising out of a dishonest, fraudulent, criminal or
                    malicious act or omission, or intentional misrepresentation, (including,
                    but not limited to, actual or alleged violations of state or federal anti-
                    trust, price-fixing, restraint of trade or deceptive trade practice laws,
                    rules or regulations) committed by, at the direction of, or with the
                    knowledge of the Named Insured;

                                               *        *      *

                 T. based on or arising out of the gaining in fact of any personal profit or
                    advantage to which the Named Insured is not legally entitled,
                    including misappropriation, conversion, embezzlement, commingling
                    or defalcation of funds or other property; …

       61.       In Section IX – General Conditions, as amended by endorsement, the 08/09

Policy states:

                 K. Application Representations:

                    By acceptance of this policy, the Named Insured agrees that the
                    statements in the application are the Named Insured’s agreements and
                    representations, that each matter represented shall be deemed material
                    if it was made with the actual intent to deceive or increases the risk of
                    loss, that this policy is issued in reliance upon the truth of such
                    representations and that this policy embodies all agreements existing
                    between the Named Insured and the Company.

       62.       Section IX of the 08/09 Policy also provides:

                 L. Reimbursement:

                    While the Company has no duty to do so, if the Company pays
                    Damages or Claims Expenses:
                    1. within the amount of the applicable Deductible, or
                    2. in excess of the applicable Limit of Liability, or
                    3. Under a reservation of rights to seek reimbursement, and it is
                       determined that the Company is entitled to reimbursement,

                    upon written demand, the Named Insured shall repay such amounts to
                    the Company within (30) days. Failure to pay any amount indicated
                    may lead to policy termination.


                                                   12
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 13 of 23                       PageID 13




       63.     The 08/09 Policy was endorsed to include West Tennessee as an Additional

Insured, “but only with respect to Claims arising out of any act, error, omission or Personal

Injury in the rendering or failure to render Professional Services by the Named Insured and

subject to all the terms and conditions of the policy.”

       The Underlying Lawsuit

       64.     On or about April 23, 2009, Claimants filed the Underlying Lawsuit against the

Insureds, among other defendants. A true and correct copy of the Amended Complaint for

Damages filed in the Underlying Lawsuit on or about May 28, 2009 is attached hereto as Exhibit

E.

       65.     In general, the Underlying Lawsuit seeks the recovery of damages from the

Insureds as a result of their preparation of allegedly inflated appraisals for the Claimants’

properties, which Claimants used to obtain construction loans for their properties, as well as the

Insureds’ alleged failure to inspect and report on the progress of construction of the prior to

disbursements from such construction loans.

       66.     The Underlying Lawsuit purports to assert seven separate causes of action against

the defendants, including the Insureds, for breach of contract, violations of the Tennessee

Consumer Protection Act, fraud, conversion, negligent misrepresentation, civil conspiracy, and

negligence.

       67.     Among other relief, the Underlying Lawsuit seeks judgment in the amount of

$10,000,000.00 and an award of treble damages, attorney’s fees, and interest.

       68.     The Insureds reported the Underlying Lawsuit to General Star in June 2009 –

during the Policy Period of the 08/09 Policy. General Star agreed to provide a defense to the

Insureds pursuant to the terms of the 08/09 Policy and subject to a strict reservation of rights.



                                                 13
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 14 of 23                    PageID 14



                                               COUNT I

                 Declaratory Judgment for Rescission of 08/09 Policy Based on
                 Corley’s Material Misrepresentations in the 2008 Application

        69.     General Star repeats and realleges paragraphs 1 to 68 of this Complaint for

Declaratory Judgment as if fully set forth herein.

        70.     In the 2008 Application submitted by Corley to General Star for purposes of

obtaining the 08/09 Policy, Corley affirmatively represented in response to Question 3 that she

had not been disciplined or investigated by any state licensing, administrative or regulatory board

as a result of appraisal activities within the past five (5) years.

        71.     Corley’s 2008 Application and, specifically, her response to Question 3, was

false, incorrect and contained misrepresentations because Corley had been investigated and

disciplined as a result of her appraisal activities by the Tennessee Real Estate Appraisers

Commission in response to three disciplinary complaints filed in 2007 and 2008. Specifically, in

the December 27, 2007 Consent Order, Corley was assessed a civil penalty of $1,000.00 by the

Commission for her appraisal activities. In addition, in the March 12, 2008 Consent Order,

Corley was assessed a civil penalty of $3,000.00 by the Commission for her appraisal activities,

was required to complete an additional training class, and her license was placed on probation for

six months.

        72.     Corley was aware of the prior investigations and discipline when she completed,

signed and submitted the 2008 Application in October 2008.            Indeed, Corley signed both

Consent Orders prior to her execution of the 2008 Application.

        73.     In light of the discipline imposed and the investigation undertaken by the

Commission prior to October 2008, the correct answer to Question 3 on the 2008 Application

was “false.” Corley knew the correct answer to Question No. 3 on the 2008 Application was



                                                   14
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 15 of 23                    PageID 15



“false.”

       74.     In the 2008 Application submitted by Corley to General Star for purposes of

obtaining the 08/09 Policy, Corley also affirmatively represented in response to Question 4 that

there were no claims reported and/or pending circumstances which could result in a claim against

her within the past five (5) years.

       75.     The 2008 Application and, specifically, her response to Question 4 of the 2008

Application, was false, incorrect and contained misrepresentations as she failed to identify any of

the circumstances set forth in the disciplinary complaints and/or Consent Orders, namely the

violations of the USPAP Ethics Provision, USPAP Competency Rule, the multiple violations of

USPAP Standard Rules, and the violations of Tennessee law, any one of which could have

resulted in a claim against Corley. Corley was aware of these circumstances and the facts set

forth in the complaints and Consent Orders when she completed, signed and submitted the 2008

Application to General Star in October 2008.

       76.     In light of the circumstances set forth in the disciplinary complaints and Consent

Orders, the correct answer to Question 4 on the 2008 Application was “false.” Corley knew the

correct answer to Question 4 on the 2008 Application was “false.”

       77.     Corley’s misrepresentations in the 2008 Application were made with the intent to

deceive General Star into issuing the 08/09 Policy to Corley although she did not qualify for

General Star’s insurance program.

       78.     As stated on the face of the 2008 Applications, Corley was not eligible for

General Star’s Appraisers Errors and Omissions Liability Program if she answered “false” to any

one of Questions 1 through 4 on the 2008 Application.

       79.     General Star relied upon Corley’s misstatements in the 2008 Application in




                                                15
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 16 of 23                    PageID 16



approving Corley for the 08/09 Policy and issuing the 08/09 Policy to Corley.

        80.     The misrepresentations made by Corley were material and materially increased

the risk of loss to General Star because General Star would not have issued the 08/09 Policy to

Corley, or would have issued the 08/09 Policy on materially different terms and for greater

premium, had she responded “false” to either Questions 3 or 4 in the 2008 Application.

        81.     By virtue of the misrepresentations made in the 2008 Application, General Star

acted to its detriment because if the true facts had been disclosed to General Star, General Star

would not have issued the 08/09 Policy or would have issued the Policy on materially different

terms and for greater premium.

        82.     General Star has or will return the premium paid by Corley for the 08/09 Policy

that it is seeking to rescind.

        83.     Because Corley made material misrepresentations in the 2008 Application for the

08/09 Policy, the 08/09 Policy is void ab initio and of no effect whatsoever.

        84.     By reason of the above, General Star is entitled to a declaration that a) the 08/09

Policy is void ab initio due to the material misrepresentations made by Corley in the 2008

Application for the 08/09 Policy; and b) by virtue of rescission of the 08/09 Policy, General Star

has no duty to defend or indemnify the Insureds in connection with the Underlying Lawsuit.

                                            COUNT II

                 Declaratory Judgment for Rescission of 07/08 Policy Based on
                 Corley’s Material Misrepresentations in the 2007 Application

        85.     General Star repeats and realleges paragraphs 1 to 84 of this Complaint for

Declaratory Judgment as if fully set forth herein.

        86.     In the 2007 Application submitted by Corley to General Star for purposes of

obtaining the 07/08 Policy, Corley affirmatively represented in response to Question 4 that there



                                                16
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 17 of 23                    PageID 17



were no claims reported and/or pending circumstances which could result in a claim against her

within the past five (5) years.

       87.     The 2007 Application and, specifically, her response to Question 4 of the 2007

Application, was false, incorrect and contained misrepresentations as she failed to identify any of

the circumstances set forth in the July 13, 2007 disciplinary complaint, namely the violations of

the USPAP Ethics Provision, which could have resulted in a claim against Corley. Corley was

aware of these circumstances and the facts set forth in the disciplinary complaint when she

completed, signed and submitted the 2007 Application to General Star in September 2007.

       88.     In light of the circumstances set forth in the July 13, 2007 disciplinary complaint,

the correct answer to Question 4 on the 2007 Application was “false.” Corley knew the correct

answer to Question 4 on the 2007 Application was “false.”

       89.     Corley’s misrepresentations in the 2007 Application were made with the intent to

deceive General Star into issuing the 07/08 Policy to Corley although she did not qualify for

General Star’s insurance program.

       90.     As stated on the face of the 2007 Applications, Corley was not eligible for

General Star’s Appraisers Errors and Omissions Liability Program if she answered “false” to any

one of Questions 1 through 4 on the 2007 Application.

       91.     General Star relied upon Corley’s misstatements in the 2007 Application in

approving Corley for the 07/08 Policy and issuing the 07/08 Policy to Corley.

       92.     The misrepresentations made by Corley were material and materially increased

the risk of loss to General Star because General Star would not have issued the 07/08 Policy to

Corley, or would have issued the 07/08 Policy on materially different terms and for greater

premium, had she responded “false” to Question 4 in the 2007 Application.




                                                17
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 18 of 23                    PageID 18



        93.     By virtue of the misrepresentations made in the 2007 Application, General Star

acted to its detriment because if the true facts had been disclosed to General Star, General Star

would not have issued the 07/08 Policy or would have issued the Policy on materially different

terms and for greater premium.

        94.     General Star has or will return the premium paid by Corley for the 07/08 Policy

that it is seeking to rescind.

        95.     Because Corley made material misrepresentations in the 2007 Application for the

07/08 Policy, the 07/08 Policy is void ab initio and of no effect whatsoever.

        96.     By reason of the above, General Star is entitled to a declaration that a) the 07/08

Policy is void ab initio due to the material misrepresentations made by Corley in the 2007

Application for the 07/08 Policy; and b) by virtue of rescission of the 07/08 Policy, General Star

has no duty to defend or indemnify the Insureds in connection with the Underlying Lawsuit.

                                           COUNT III

    Declaratory Judgment that Coverage is Excluded under the 2008/09 Policy for Any
      Dishonest, Fraudulent, Criminal or Malicious Act or Omission, or Intentional
                          Misrepresentation by the Insureds

        97.     General Star repeats and realleges paragraphs 1 to 96 of this Complaint for

Declaratory Judgment as if fully set forth herein.

        98.     Exclusion A to the 08/09 Policy excludes coverage for Claims based on or arising

out of a dishonest, fraudulent, criminal or malicious act or omission, or intentional

misrepresentation committed by, at the direction of, or with the knowledge of the Named

Insured.

        99.     The Underlying Lawsuit alleges, inter alia, that the Insureds engaged in

fraudulent and/or deceptive business practices/transactions toward Claimants, such as preparing




                                                18
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 19 of 23                    PageID 19



inflated appraisals, and utilized deceptive means for the purpose of enticing and encouraging

Claimants to enter into loans for grossly overvalued property and homes. The Underlying

Lawsuit further alleges that the Insureds knowingly made false representations of existing or past

material facts, and unlawfully took and/or converted to their own use certain property of the

Claimants, to wit: loan proceeds for the subject properties. The Underlying Lawsuit also alleges

that the Insureds participated in an unlawful scheme, by means of fraud and identity theft, to

coerce the Claimants to purchase lots and homes at a grossly inflated price for the purpose of

depriving the Claimants of their monies, and leaving Claimants with huge loans in excess of the

value of the properties.

       100.    Based upon the foregoing allegations, the Underlying Lawsuit asserts, among

other theories, causes of action for violation of the Tennessee Consumer Protection Act (Tenn.

Code Ann. §47-18-104), fraud, conversion, and civil conspiracy.

       101.    There is no coverage for such allegations and causes of action pursuant to

Exclusion A.

       102.    Accordingly, General Star is entitled to a declaration that it owes no duty to

defend or indemnify the Insureds in connection with the Underlying Lawsuit.

                                           COUNT IV

      Declaratory Judgment that Coverage is Excluded under the 08/09 Policy for Any
       Dishonest, Fraudulent, Criminal or Malicious Act or Omission, or Intentional
                           Misrepresentation by the Insureds

       103.    General Star repeats and realleges paragraphs 1 to 102 of this Complaint for

Declaratory Judgment as if fully set forth herein.

       104.    Exclusion T to the 08/09 Policy excludes coverage for Claims based on or arising

out of the gaining in fact of any personal profit or advantage to which the Named Insured is not




                                                19
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 20 of 23                  PageID 20



legally entitled, including misappropriation, conversion, embezzlement, commingling or

defalcation of funds or other property.

       105.    The Underlying Lawsuit alleges, inter alia, that the Insureds engaged in

fraudulent and/or deceptive business practices/transactions toward Claimants, such as preparing

inflated appraisals, and utilized deceptive means for the purpose of enticing and encouraging

Claimants to enter into loans for grossly overvalued property and homes. The Underlying

Lawsuit alleges that the Insureds knowingly made false representations of existing or past

material facts, and unlawfully took and/or converted to their own use certain property of the

Claimants, to wit: loan proceeds for the subject properties. The Underlying Lawsuit also alleges

that the Insureds participated in an unlawful scheme, by means of fraud and identity theft, to

coerce the Claimants to purchase lots and homes at a grossly inflated price for the purpose of

depriving the Claimants of their monies, and leaving Claimants with huge loans in excess of the

value of the properties.

       106.    Based upon the foregoing allegations, the Underlying Lawsuit asserts, among

other theories, causes of action for violation of the Tennessee Consumer Protection Act (Tenn.

Code Ann. §47-18-104), fraud, conversion, and civil conspiracy.

       107.    There is no coverage for such allegations and causes of action pursuant to

Exclusion T.

       108.    Accordingly, General Star is entitled to a declaration that it owes no duty to

defend or indemnify the Insureds in connection with the Underlying Lawsuit.




                                              20
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 21 of 23                     PageID 21



                                             COUNT V

Declaratory Judgment that there is No Coverage Under the 08/09 Policy for any award for
              Damages Outside the 08/09 Policy’s Definition of “Damages”

          109.   General Star repeats and realleges paragraphs 1 to 108 of this Complaint for

Declaratory Judgment as if fully set forth herein.

          110.   Subject to the other terms and conditions of the 08/09 Policy, Section I of the

08/09 Policy states that it provides coverage for “Damages” as that term is defined by the 08/09

Policy.

          111.   Punitive or exemplary damages, fines or penalties, sanctions, the return of fees or

other consideration paid to the Named Insured, and that portion of any award or judgment caused

by trebling or multiplication of actual damages under federal or state law is expressly excluded

from the meaning of “Damages” under the 08/09 Policy.

          112.   The Underlying Lawsuit seeks an award for treble damages and attorney’s fees.

In addition, the Underlying Lawsuit seeks judgment in the amount of $10,000,000.00, which

may include some amount of punitive or exemplary damages, fines or penalties, sanctions, the

return of fees or other consideration paid to the Named Insured.

          113.   There is no coverage for any award including such damages pursuant to the 08/09

Policy’s Insuring Agreement and definition of “Damages.”

          114.   Accordingly, to the extent judgment is entered against the Insureds in the

Underlying Lawsuit, General Star is entitled to a declaration that it owes no duty to indemnify

the Insureds in connection with any such damages.

                                            COUNT VI

           Declaratory Judgment that the Insureds Must Reimburse Claims Expenses

          115.   General Star repeats and realleges paragraphs 1 to 114 of this Complaint for



                                                 21
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 22 of 23                    PageID 22



Declaratory Judgment as if fully set forth herein.

       116.    Subject to the other terms and conditions of the 08/09 Policy, Section IX of the

08/09 Policy states that, if the company pays “Damages” or “Claims Expenses” under a

reservation of rights to seek reimbursement, and it is entitled to reimbursement, the Named

Insured shall repay such amounts to the Company.

       117.    General Star has reserved its rights to seek reimbursement of Damages and

Claims Expenses.

       118.    Should the Court determine that General Star is entitled to rescind the 08/09

Policy and/or that no coverage exists for the Underlying Lawsuit under the 08/09 Policy, General

Star is entitled to reimbursement by Corley of any Damages and Claim Expenses paid, including

reimbursement of all costs and fees incurred by General Star to defend the Insureds in the

Underlying Lawsuit.

       WHEREFORE, Plaintiff, GENERAL STAR NATIONAL INSURANCE COMPANY,

respectfully requests that judgment be entered in its favor and against the Defendants, and prays

that this Court:

               a)      Enter an Order finding that the 08/09 Policy is void ab initio and of no
                       effect whatsoever based upon material misrepresentations in the 2008
                       Application;

               b)      Enter an Order finding that the 07/08 Policy is void ab initio and of no
                       effect whatsoever based upon material misrepresentations in the 2007
                       Application;

               c)      Enter an Order finding and declaring that General Star is not obligated to
                       defend or indemnify the Insureds in connection with the Underlying
                       Lawsuit, or for any claim based upon, arising out of, directly or indirectly
                       resulting from or in consequence of, or in any way involving the conduct
                       and facts, circumstances and situations described in the Underlying
                       Lawsuit;

               d)      Enter an Order awarding Plaintiff all costs and expenses it incurred in this
                       matter;


                                                22
  Case 1:12-cv-01094-egb Document 1 Filed 04/12/12 Page 23 of 23               PageID 23



                 e)   Enter an Order directing Corley to reimburse General Star for Damages
                      and Claim Expenses incurred by General Star, including those fees and
                      costs incurred in defending the Insureds in the Underlying Lawsuit; and

                 f)   Grant any such other and further relief which this Court deems just and
                      proper.

                                      JURY DEMAND

        Plaintiff, GENERAL STAR NATIONAL INSURANCE COMPANY, hereby demands

trial by jury.


                             Respectfully submitted,

                             LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC

                             BY:     /s/ Nicole M. Grida
                                    RONALD L. HARPER, Tennessee BPR #15470
                                    NICOLE M. GRIDA, Tennessee BPR #25416
                                    Brinkley Plaza
                                    80 Monroe Avenue, Suite 800
                                    Memphis, Tennessee 38103
                                    (901) 527-0214
                                    ron.harper@leitnerfirm.com
                                    nicole.grida@leitnerfirm.com

                                    Attorneys for Plaintiff, GENERAL STAR NATIONAL
                                    INSURANCE COMPANY



Of Counsel:
DAVID A. WILFORD, Illinois ARDC #6217049
CHRISTOPHER T. CONRAD, Illinois ARDC #6255778
WILFORD CONRAD LLP
Flint Creek Corporate View
760 W. Main Street, Suite 210
Barrington, Illinois 60010
(224) 848-4721
Fax: (224) 425-5865
dwilford@wilfordconrad.com
cconrad@wilfordconrad.com




                                              23
